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       Exhibit A
                                        Case
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                                   8                                 UNITED STATES DISTRICT COURT

                                   9                                NORTHERN DISTRICT OF CALIFORNIA

                                  10                                          SAN JOSE DIVISION

                                  11
                                        BRAD GREENSPAN,
                                  12                                                          Case No. 14-cv-04187-RMW
Northern District of California




                                                       Plaintiff,
 United States District Court




                                  13
                                                v.                                            ORDER GRANTING MOTION TO
                                  14                                                          DECLARE PLAINTIFF A VEXATIOUS
                                        IAC/INTERACTIVECORP, et al.,                          LITIGANT AND GRANTING IN PART
                                  15                                                          MOTIONS FOR ATTORNEYS’ FEES
                                                       Defendants.
                                  16                                                          Re: Dkt. Nos. 150, 151

                                  17          Defendant Google brings this motion to declare plaintiff Brad Greenspan a vexatious

                                  18   litigant and seeks to recover its attorneys’ fees incurred in bringing the motion. Dkt. No. 150.

                                  19   Defendant IAC joins Google’s motion for an order declaring plaintiff a vexatious litigant and

                                  20   seeks to recover its attorneys’ fees and costs incurred in preparing the notice of joinder, as well as

                                  21   attorneys’ fees incurred after this court’s November 10, 2015 order. Dkt. No. 151. Plaintiff did not

                                  22   file a written opposition to the motion. The court heard argument on September 23, 2016.

                                  23          At the hearing on this motion, plaintiff’s new counsel requested an opportunity to file a

                                  24   written opposition because of plaintiff’s important interest in avoiding a vexatious litigant order.

                                  25   On August 26, 2016, at the hearing on several of plaintiff’s motions, plaintiff represented that he

                                  26   had obtained new counsel and that counsel would appear that day. Plaintiff’s new counsel,

                                  27   however, did not appear until the day before the hearing on this motion. Plaintiff does not explain

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                                   1   his failure to file a written opposition to defendants’ motion, but did file another motion of his

                                   2   own after defendants’ filing. Under these circumstances, the court finds that no extension of time

                                   3   to file an opposition is warranted.

                                   4            For the reasons set forth below, the court grants defendants’ motion to declare plaintiff a

                                   5   vexatious litigant and grants in part defendants’ requests for attorneys’ fees.

                                   6   I.       BACKGROUND
                                   7            Plaintiff is a former employee and shareholder of Intermix, Inc. Compl. ¶ 8. In 2005,

                                   8   Intermix sold the social media website MySpace to News Corp. Id. ¶¶ 15-16. Plaintiff filed this

                                   9   action on September 16, 2015, alleging that several defendants conspired to depress MySpace’s

                                  10   sales price. See id. ¶¶ 20-30. On May 15, 2015, this case was dismissed with prejudice for failure

                                  11   to prosecute, and judgment was entered against plaintiff. Dkt. Nos. 29, 30. Plaintiff then filed

                                  12   several motions for relief. See Dkt. Nos. 32, 39, 47, 57, 58, 59, 60. The court denied all of
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                                  13   plaintiff’s motions except for plaintiff’s motion to set aside the judgment. Dkt. No. 66.

                                  14            The court deferred ruling on plaintiff’s motion to set aside the judgment, stating that the

                                  15   court would grant plaintiff’s requested relief if plaintiff 1) obtained new counsel and 2) reimbursed

                                  16   defendants for costs and expenses incurred as a result of the entry of judgment. Id. Plaintiff

                                  17   obtained new counsel, but plaintiff did not reimburse defendants. The court set a deadline for

                                  18   plaintiff to reimburse defendants and granted plaintiff’s request for an extension. Dkt. Nos. 84, 90.

                                  19   Plaintiff did not request another extension. Accordingly, the court denied plaintiff’s motion to set

                                  20   aside judgment on May 15, 2016. Dkt. No. 99. In the same order, the court granted plaintiff’s

                                  21   counsel’s motion to withdraw. Id.

                                  22            Proceeding pro se, plaintiff then filed several motions. See Dkt. Nos. 111, 116, 121, 124,

                                  23   127, 131, 132, 144. Defendants then moved to declare plaintiff vexatious. Dkt. Nos. 150, 151.

                                  24   Plaintiff did not file a response to defendants’ motion, but did file another motion of his own. Dkt

                                  25   153. All of plaintiff’s motions have been denied by the court. See Dkt. Nos. 114, 154.New counsel

                                  26   for plaintiff appeared on September 22, 2016, the day before the hearing on this motion. Dkt. Nos.

                                  27   156-59.

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                                       II.    MOTION TO DECLARE PLAINTIFF A VEXATIOUS LITIGANT
                                   1
                                              “Federal courts can ‘regulate the activities of abusive litigants by imposing carefully
                                   2
                                       tailored restrictions under . . . appropriate circumstances.’” Ringgold-Lockhart v. Cty. of Los
                                   3
                                       Angeles, 761 F.3d 1057, 1061 (9th Cir. 2014) (alteration in original) (quoting De Long v.
                                   4
                                       Hennessey, 912 F.2d 1144, 1147 (9th Cir. 1990)). “Pursuant to the All Writs Act, 28 U.S.C. §
                                   5
                                       1651(a), ‘enjoining litigants with abusive and lengthy [litigation] histories is one such . . .
                                   6
                                       restriction’ that courts may impose.” Id. (alterations in original) (quoting De Long, 912 F.2d at
                                   7
                                       1147). “Out of regard for the constitutional underpinnings of the right to court access, ‘pre-filing
                                   8
                                       orders should rarely be filed,’ and only if courts comply with certain procedural and substantive
                                   9
                                       requirements.” Id. (quoting De Long, 912 F.2d at 1147). A district court must: (1) give the litigant
                                  10
                                       “notice and an opportunity to be heard;” (2) “create an adequate record for review;” (3) make
                                  11
                                       “substantive findings as to the frivolous or harassing nature of the litigant’s actions;” and (4)
                                  12
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                                       narrowly tailor the order “to closely fit the specific vice encountered.” De Long, 912 F.2d at 1147-
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                                  13
                                       48.
                                  14
                                              A. Notice
                                  15
                                              Plaintiff was provided adequate notice and an opportunity to be heard. Google timely
                                  16
                                       served plaintiff with the instant motion. See Dkt. No. 150 at 13. A hearing was held on September
                                  17
                                       23, 2016. Plaintiff, therefore, was “provided with an opportunity to oppose the order before it was
                                  18
                                       entered.” De Long, 912 F.2d at 1147.
                                  19
                                              B.      Record for Review
                                  20
                                              “An adequate record for review should include a listing of all the cases and motions that
                                  21
                                       led the district court to conclude that a vexatious litigant order was needed. At the least, the record
                                  22
                                       needs to show, in some manner, that the litigant’s activities were numerous or abusive.” De Long
                                  23
                                       v. Hennessey, 912 F.2d at 1147 (internal citations omitted). Plaintiff has filed sixteen substantive
                                  24
                                       motions since judgment was entered in this case. See Dkt. Nos. 32, 39, 47, 57, 58, 59, 91, 111,
                                  25
                                       116, 121, 124, 127, 131, 133, 144, 153. All of plaintiff’s motions have been denied. See Dkt. Nos.
                                  26
                                       66, 99, 114, 154. The court also notes that plaintiff has litigated or attempted to litigate claims
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                                   1   arising out of the MySpace sale in several other cases: Greenspan v. Intermix Media, Inc, No. BC

                                   2   338786, filed in the Superior Court of California, County of Los Angeles; Brown v. Brewer, No.

                                   3   2:06-cv-03731-GHK-SH, filed in the Central District of California; Greenspan v. News Corp., No.

                                   4   CV 9567-VCG, filed in the Delaware Court of Chancery; In re High-Tech Employee Antitrust

                                   5   Litigation, No. 5:11-CV-02509-LHK, filed in the Northern District of California; Huthard v. News

                                   6   Corp., No. 2:13-cv-04253-MWF-AJW, filed in the Central District of California.

                                   7          C. Substantive Findings
                                   8          To make a substantive finding as to the frivolousness nature of plaintiff’s activities, the

                                   9   court must “look at ‘both the number and content of the filings as indicia’ of the frivolousness of

                                  10   the litigant’s claims.” De Long, 912 F.2d at 1148 (quoting In re Powell, 851 F.2d 427, 431 (D.C.

                                  11   Cir. 1988)). Plaintiff has an extensive history of duplicative and frivolous filings.

                                  12          Plaintiff did not respond to this court’s order to show cause why the action should not be
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                                  13   dismissed, resulting in entry of judgment against plaintiff. Plaintiff then proceeded to file six

                                  14   separate motions seeking post-judgment relief. Instead of complying with the court’s conditions

                                  15   for setting aside the judgment, plaintiff let the already-extended deadline for payment come and go

                                  16   without requesting a second extension. The court, therefore, denied plaintiff’s motion to set aside

                                  17   the judgment.

                                  18          Plaintiff responded by filing a series of frivolous motions. For example, plaintiff argued

                                  19   that “newly discovered evidence” warranted relief from the court’s order denying of his motion to

                                  20   set aside the judgment, but cited no new evidence related to the denial. See Dkt. Nos. 111, 116.

                                  21   Plaintiff later filed a second motion citing the same irrelevant evidence. See Dkt. No. 127. Plaintiff

                                  22   also moved to strike the date “July 5, 2015” from the opposition brief filed by IAC on July 5,

                                  23   2016. See Dkt. No. 145. Plaintiff’s “motion for administrative relief” alleged misconduct by

                                  24   parties in other cases. See Dkt. No. 153. None of plaintiff’s filings included a reasonable

                                  25   explanation for plaintiff’s failure to comply with the conditions set by the court.

                                  26          Plaintiff’s practice of filing of frivolous motions is not limited to this case. After his claims

                                  27   were dismissed in Brown v. Brewer, plaintiff made two unsuccessful attempts to intervene in the

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                                   1   case. See No. 2:06-cv-03731-GHK-SH, Dkt. Nos. 341 (order rejecting motion to intervene), 391

                                   2   (order striking three of plaintiff’s motions). The Ninth Circuit then dismissed plaintiff’s appeal of

                                   3   the settlement in the case as untimely. See id., Dkt. No. 454. Plaintiff’s motion to intervene and his

                                   4   motion for recusal in In re High-Tech Employee Antitrust Litigation were denied. See Dkt. No.

                                   5   150-1, Rubin Decl., at Ex. D. The court found the plaintiff’s motions lacking in merit, but also

                                   6   noted that the attorney who purportedly signed the motions had informed the court that she did not

                                   7   file them. See id. In Huthart v. News Corporation, plaintiff filed three motions after the court

                                   8   denied his motion to intervene, all of which were denied. See id. at Ex. C. The district court found

                                   9   plaintiff’s argument irrelevant to the challenged order. Id. The Delaware Court of Chancery

                                  10   returned a motion to plaintiff because it was filed after the case was closed. See id. at Ex. B.

                                  11   Plaintiff’s filings in other cases suggest that plaintiff’s pattern of filings may continue in the

                                  12   absence of a pre-filing order.
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                                  13          D. Narrow Tailoring
                                  14          The requested pre-filing order limits plaintiff’s ability to file motions in this case only. It is

                                  15   therefore narrowly tailored to fit the specific vice encountered by defendants—plaintiff’s frivolous

                                  16   motions practice in this case.

                                  17   III.   MOTIONS FOR ATTORNEYS’ FEES
                                  18          Under 28 U.S.C. § 1927, “[a]ny attorney or other person admitted to conduct cases in any

                                  19   court” who “multiplies the proceedings in any case unreasonably and vexatiously may be required

                                  20   by the court to satisfy personally the excess costs, expenses, and attorneys’ fees reasonably

                                  21   incurred because of such conduct.” Section 1927 sanctions “must be supported by a finding of

                                  22   subjective bad faith. Bad faith is present when an attorney knowingly or recklessly raises a

                                  23   frivolous argument, or argues a meritorious claim for the purpose of harassing an opponent.” In re

                                  24   Keegan Mgmt. Co., Sec. Litig., 78 F.3d 431, 436 (9th Cir. 1996) (internal citations and quotation

                                  25   marks omitted). Section 1927 sanctions “may be imposed on a pro se plaintiff.” See Wages v.

                                  26   I.R.S., 915 F.2d 1230, 1235-36 (9th Cir. 1990).

                                  27          Plaintiff’s motions have undoubtedly been burdensome for defendants. Although pro se,

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                                   1   plaintiff appears to be familiar with litigation and was acting knowingly or recklessly when he

                                   2   filed his numerous motions. The court finds that he acted in subjective bad faith. An award of

                                   3   attorneys’ fees is appropriate. The fees requested are at a rate that exceeds those charged for

                                   4   similar work in the area where defendants’ counsel practice and location of the litigation. The

                                   5   court accepts the time records of defendants’ counsel, but awards an hourly billing rate of $500 for

                                   6   time spent in bring this motion. Therefore, Google is awarded $15,100.00 and IAC is awarded

                                   7   $3,750.00.

                                   8   IV.    ORDER
                                   9          The court hereby declares plaintiff Brad Greenspan to be a vexatious litigant and orders

                                  10   Mr. Greenspan to obtain leave of court before filing any further motions in this case. Motions that

                                  11   are frivolous or duplicative will be returned. Plaintiff is ordered to pay $15,100.00 to Google and

                                  12   $3,750.00 to IAC in attorneys’ fees.
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                                  13          IT IS SO ORDERED.

                                  14   Dated: September 30, 2016
                                                                                        ______________________________________
                                  15
                                                                                        Ronald M. Whyte
                                  16                                                    United States District Judge

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